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EXHIBIT A
Case 1:19-cv-00203-JTN-ESC ECF No. 1-1 filed 03/18/19 PagelID.6 Page 2of5

 

 

 

 

Original - Court 2nd copy - Plaintiff
Approved, SCAO 4st copy - Defendant ard copy - Return
STATE OF MICHIGAN - CASE NO,
JUDICIAL DISTRICT . .
45th JUDICIAL CIRCUIT SUMMONS 19-060-NO
COUNTY PROBATE
Court address Court telephone no,

Courts Building, 125 West, Main Street, PO Box 189, Centreville, MI 49032

 

Plaintiff's name(s), address(es), and telephone no(s).

269-467-5531

 

Defendant's name(s), address(es), and telephone no(s).

Sarah J. Ussery Menard, Inc.
12033 Shavenhead Lake United States Corporation Company
Jones, M1 49061-9766 601 Abbot Road

East Lansing, MI 48823

 

Plainti’s attomey, bar no., address, and telephane no.
James M. Giffels (P51459)

Giffels Law Office, PLLC

410 E. Centre Avenue

Portage, MI 49002 -

(269) 381-4172 |

instructions: Check the items below that apply to you and provide any required information, Submit this form to the court clerk
along with your complaint and, if necessary, a case Inventory addendum (form MC 21). The summons section will be completed
by the court clerk. .

 

 

 

 

 

 

Domestic Relations Case

There are no pending or resolved cases within the jurisdiction of the family division of the circuit court Involving the family or
family members of the person(s) who are the subject of the complaint.

(I There is one or more pending or resolved cases within the jurisdiction of the family division of the circuit court involving
the family or family members of the person(s) who are the subject of the complaint. Attached is a completed case inventory
(form MC 21) listing those cases.

[Jit is unknown if there are pending or resolved cases within the Jurisdiction of the family division of the circult court Involving
the family or family members of the person(s) who are the subject of the complaint.

Civil Case

CO This Is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.

There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the
complaint.

CIA civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has

been previously filed in [this court, [1 Court, where

 

it was given case number _

 

and assigned to Judge

The action Cremains Cis no longer pending.

NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:

1. You are being sued.

2. YOU HAVE 21 DAYS after receiving this summons and a copy of the complaint to file a written answer with the court and
serve a copy on the other party or take other lawful action with the court (28 days if you were served by mail or you were
served outside this state).

3. If you do not answer.or take other action within the time allowed, judgment may be entered against you for the relief
demanded in the complaint.

4. If you require special accommodations to use the court because of a disability or if you require a foreign language interpreter
to help you fully participate in court proceedings, please contact the court immediately to make arrangements.

Issue date Explration date*

February 13, 20419 | May 15, 2029 EL hed

*This summons Is invalla unless served on or before Its expiration date. This document must be sealed by, y Abe s LA of the oo if Deputy
mco1 @/18) SUMMONS MCR 4.109(D), More 102(B), MCR 2.104, MCR 2.108

Summons sectlon completed by court clark.

 

Courtclerk Lindsay (8 eh

 

 

 

 

 
 

 

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SUMMONS

PROOF OF SERVICE Case No. 19-060-NO

TO PROCESS SERVER: You are to serve the summons and complaint not fater than 91 days from the date of filing or the date
of expiration on the order for second summons, You must make and file your return with the court clerk. If you are unable to
complete service you must return this original'and alt copies to the court clerk.

| CERTIFICATE / AFFIDAVIT OF SERVICE / NONSERVICE |

 

 

 

 

 

[) OFFICER CERTIFICATE OR C] AFFIDAVIT OF PROCESS SERVER
i certify that | am a sheriff, deputy sheriff, bailiff, appointed Being first duly sworn, ! state that | am a legally competen
court officer, or attorney for a party (MCR 2,104{A](2)), adult who is not a party or an officer of a corporate party,
and that: (notarization not required) and that: (notarlzation required)

 

 

[-]1 served personally a copy of the summons and complaint.
CII served by registered or certified mail (copy of return receipt attached) a copy of the summons and complaint,

together with

 

List all documents served with the summons and complaint

 

on the defendant(s):

 

 

Defendant's name Complete address(es) of service Day, date, tine a

 

 

 

CJ thave personally attempted to serve the summons and complaint, together with any attachments, on the following defendant(s)

and have been unable to complete service.
Defendant's name Complete address(es) of service Day, date, time

 

 

 

 

 

 

 

 

| declare under the penalties of perjury that this proof of service has been examined by me and that its contents are true to the
best of my information, knowledge, and belief.

 

 

 

 

 

 

 

 

 

 

 

Service fee Miles traveled Fee _ Signature
$ is
Incorrect address fee | Miles travelad Fee TOTAL FEE Name (lype or print)
$ [8 $
Tille

Subscribed and sworn to before me on nate ' County, Michigan.
My commission expires: mss Signature:

ale

Deputy court clerk/Notary public
Notary public, State of Michigan, County of

| ACKNOWLEDGMENT OF SERVICE |
| acknowledge that have received service of the summons and complaint, together with

 

 

 

Attachments

 

on
Day, date, time
on behalf of

 

 

Signature
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A aad 7 : ~

STATE OF MICHIGAN

IN THE CIRCUIT COURT FOR THE COUNTY OF ST JOSEPH

. SARAH J. USSERY,

Plaintiff, Case No: 19-060-NO
v
MENARD, INC,

Defendant.

 

JAMES M. GIFFELS (P51459)
Attorney for Plaintiff

410 E. Centre Avenue

Portage, MI 49002

(269) 381-4172

 

COMPLAINT WITH JURY DEMAND

 

There is no other pending or resolved civil action arising out of the transaction or

occurrence alleged in the complaint,

Plaintiff states:
1. Plaintiff is a resident of Cass County, Michigan.
2. Defendant is a Foreign Profit Corporation conducting business in St. Joseph

County, Michigan.

3, On August 11, 2018, Plaintiff was a business invitee at Defendant’s home
improvement store located at 1001 Warmer Drive in Three Rivers, Michigan,
County of St. Joseph.

4, On this date, Plaintiff was a business invitee who was shopping with her husband

" at Defendant's store in Three Rivers, Michigan when the Defendant's employee
 

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7 OU
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~ ~

negligently and without warming caused wood trim to fall directly onto Plaintiff's

head in the check-out lane,

5. At all relevant times, Defendant owed to Plaintiff the following duties and

obligations, among others:

a.
b.
c.

d.

to use ordinary care for the safety of customers;
to warn customers of such potential harm;
to avoid dangerous and reckless acts which could present customers with

unreasonable risk of harm;
to act as a reasonable cashier under like and similar circumstances.

6. Defendant negligently breached all of the duties and obligations, among others.

7. As a direct and proximate result of Defendant’s negligence, Plaintiff has sustained

' the following injuries and damages:

oR op

TMIJ/TMD dysfunction

cervical/cranial myofascial disorder

pain, suffering and emotional distress

loss of normal enjoyment of life

continuing medical expenses, including expenses for

i.
ii,
ili.
iv.
Vv.
vi.

urgent care,

physical therapy,

continuing diagnostic tests and evaluations,

prescriptive medicines, and

ongoing medical treatment

other damages/injuries whose existence shall become known through
the course of litigation

Plaintiff requests the court to award fair and reasonable damages in excess of $25,000,

together with costs, interest, and attorney fees.

JURY DEMAND

Plaintiff demands a jury trial in this matter.

Dated: February 6, 2019.

GI h FICE, PLLC
By:

James M. Gifffels (P5459)
Atto: for Plaintiff
